              Case 2:20-cr-00133-RAJ Document 51 Filed 10/29/21 Page 1 of 2




                                                                  JUDGE RICHARD A. JONES
 1
 2
 3
 4
 5
 6                                 UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                    )   NO. CR20-133RAJ
                                                  )
10                   Plaintiff,                   )   ORDER GRANTING UNOPPOSED
                                                  )   MOTION TO CONTINUE TRIAL AND
11             vs.                                )   PRETRIAL MOTIONS DUE DATE
                                                  )
12   DAVID ROSARIO,                               )
                                                  )
13                   Defendant.                   )
                                                  )
14
15         THIS MATTER having come before the Court on defendant’s unopposed

16   motion for a continuance of the trial and the pretrial motions due date, and the Court
     having considered the facts set forth in the motion, the speedy trial waiver executed by
17
     defendant, and the records and files herein, the Court finds as follows:
18
           The Court finds that the ends of justice will be served by ordering a continuance
19
     in this case, that a continuance is necessary to ensure adequate time for effective case
20
     preparation, and that these factors outweigh the best interests of the public and
21
     defendant in a speedy trial.
22         1. A failure to grant the continuance would deny defense counsel the reasonable
23   time necessary for effective preparation, taking into account the exercise of due
24   diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the failure
25
26     ORDER GRANTING UNOPPOSED                                  FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND                                 1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DUE DATE - 1                                  Seattle, Washington 98101
       (David Rosario; CR20-133RAJ)                                              (206) 553-1100
               Case 2:20-cr-00133-RAJ Document 51 Filed 10/29/21 Page 2 of 2




     to grant a continuance in the proceeding would likely result in a miscarriage of justice,
 1
     within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).
 2
             2. The ends of justice will be served by ordering a continuance in this case, as a
 3
     continuance is necessary to ensure adequate time for the defense to effectively prepare
 4
     for trial. All of these factors outweigh the best interests of the public and defendant in
 5
     a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).
 6           IT IS THEREFORE ORDERED that Defendant’s unopposed motion (Dkt. # 49)
 7   is GRANTED. The trial date shall be continued from November 15, 2021, to March 7,
 8   2022.
 9           IT IS FURTHER ORDERED that all pretrial motions, including motions in
10   limine, shall be filed no later than February 1, 2022.

11           IT IS FURTHER ORDERED that the resulting period of delay from the date of

12   this order to the new trial date of March 7, 2022, is hereby excluded for speedy trial
     purposes under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).
13
14
             DATED this 29th day of October, 2021.
15
16                                                      A
17                                                      The Honorable Richard A. Jones
                                                        United States District Judge
18
19
20
21
22
23
24
25
26     ORDER GRANTING UNOPPOSED                                   FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND                                  1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DUE DATE - 2                                   Seattle, Washington 98101
       (David Rosario; CR20-133RAJ)                                               (206) 553-1100
